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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 UNITED STATES OF AMERICA

 VS.                                              CASE NO: 6:24-cr-201-GAP-EJK

 HASHEM YOUNIS HASHEM
 HNAIHEN

  JUDGE:        Gregory A. Presnell                    COUNSEL FOR          Richard
                                                       GOVERNMENT:          Varadan
  DEPUTY        Anita Chenevert                        COUNSEL FOR          Joshua Lukman
  CLERK:                                               DEFENDANT:
  COURT         Amie First                             PROBATION:           Jennifer
  REPORTER:     Amiefirst.courtreporter@gmail.com                           Trittipo
  DATE:         May 1, 2025                            INTERPRETER:         Souad
  TIME:         9:30 a.m – 10:22 a.m.                                       Larhouasli
  TOTAL         52 minutes                                                  Marrakch
  TIME:                                                                     /Arabic

                          MINUTES ON SENTENCING

 Interpreter placed under oath.

 Unsworn Statements by: Moheeeb Hnaihen, Asira Shaheen, minors L.H., T.H.

 SENTENCE IMPOSED as to Counts 1, 2, 3, 4 and 5 of the Indictment.

 INCARCERATION:                  72 months – this term consists of 72 months on
 each of Counts 1-5, all such terms to run concurrently.

 SUPERVISED RELEASE:             3 years – this term consists of 3 years on each of
 Counts 1-5, all such terms to run concurrently.

       Special conditions of supervised release:
       1) No contact (direct/indirect) with victims identified in this case.
       2) If deported not re-enter without appropriate governmental authority.
       3) Cooperate in DNA.
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       4) Drug testing suspended.


 FINE is waived.

 SPECIAL ASSESSMENT of $500.00 is due immediately.

 RESTITUTION is deferred. A hearing will be set by separate notice. With
 regards to restitution any victims should submit their claims within the next 30
 days for the court to consider (if not submitted court will consider those as
 abandoned). Court will defer restitution for 60 days. Defendant would waive
 his right to be present at any hearing that may be scheduled on restitution.

 The defendant is remanded to the custody of the United States Marshal.

 The Court recommends to the Bureau of Prisons that the defendant be
 incarcerated at the facility located in the Dallas, Texas area to be near family, if
 appropriate and available.

 Defendant advised of right to appeal.




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